
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-133-CV





IN RE MARY SPENCER	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A:	LIVINGSTON, DAUPHINOT, and WALKER, JJ.



DELIVERED: April 12, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




